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 5
 6   Attorney for Defendant
     FELICIA GRANT
 7
 8
 9                      IN THE UNITED STATES DISTRICT COURT
10                    FOR THE EASTERN DISTRICT OF CALIFORNIA
11
12
13   UNITED STATES OF AMERICA,       )     No. CR-S-07-118 WBS
                                     )
14                  Plaintiff,       )
                                     )     UNOPPOSED
15        v.                         )     PETITION TO TERMINATE SUPERVISED
                                     )     RELEASE UNDER 18 U.S.C.
16   FELICIA GRANT,                  )     § 3583(E)(1);[PROPOSED] ORDER
                                     )
17                  Defendant.       )
                                     )     Judge: Hon. William B. Shubb
18   _______________________________ )
19
20        Defendant FELICIA GRANT hereby moves the court to terminate her
21   term of supervised release pursuant to 18 U.S.C. § 3583(e)(1).
22   Supervised release began on November 26, 2009 and is due to terminate
23   in four months on November 26, 2012. The government and the supervising
24   U.S. Probation Officer do not oppose this motion.
25        Title 18, section 3583(e)(1) of the United States Code permits the
26   court to terminate a defendant's term of supervised release at any time
27   after the expiration of one year of supervision if the court is
28   "satisfied that such action is warranted by the conduct of the
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 1   defendant released and the interest of justice."        Ms. Grant has
 2   completed over 31 months of her 36-month term of supervised release.
 3        Ms. Grant’s current probation officer, Vladimir Pajcin of the
 4   United States Probation Office’s Roseville Division, confirmed that Ms.
 5   Grant has completed all of the special conditions of her supervised
 6   release.   Ms. Grant has completed all the terms of supervision,
 7   including drug tests, DNA collection, and a prohibition on possessing
 8   firearms. She has suffered no violations at all since her term started
 9   three years ago. Her conduct on supervised release has been exemplary.
10   Therefore, Mr. Pajcin does not oppose early termination of supervised
11   release. Likewise, Assistant United States Attorney Jill Thomas does
12   not object to Ms. Grant’s request.
13        During her term of supervision, Ms. Grant has been making steady
14   progress towards her associates degree at American River College in
15   Sacramento, California. Although at times it was a challenge to balance
16   academics and her duties as a parent (Ms. Grant has two young
17   children), she has succeeded in both areas. Her oldest son is enrolled
18   in Headstart and has been successful in his preschool.
19        Ms. Grant’s primary reason for requesting an early termination of
20   her supervised release is that she desires to increase her job
21   opportunities by moving to Atlanta, Georgia. She has good friends and
22   family in Atlanta, Georgia. She has researched her chances of
23   employment in that area, and they seem viable.        Atlanta family members
24   have encouraged her to join them there, where there are more job
25   opportunities. One relative there works as the Human Resources manager
26   of an Atlanta corporation, and has promised to help Ms. Grant find
27   employment. Ms. Grant has started applying to jobs in the Atlanta area
28   to ensure she has a job when she arrives. She applied to the Home Depot


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 1   Calling Center because she has prior calling center experience and the
 2   company hires people convicted of felonies.
 3        Since she incurred this felony conviction, she has found it almost
 4   impossible to find employment in Sacramento. Before her conviction,
 5   when she had no criminal record and the economy was more prosperous,
 6   she had an impressive work record, including retail sales at The Gap
 7   and other establishments. Since release from her six-month prison
 8   sentence in 2009, Felicia Grant has applied for one job after another,
 9   only to be daunted by prospective employers who won’t consider hiring a
10   person with a drug felony. In a suffering economy, Ms. Grant’s
11   prospects for employment in this area seem bleak. Her situation has
12   become more serious since recently, she and her husband separated; her
13   inability to secure employment where before she was the family wage-
14   earner created so much dissent and conflict in their relationship that
15   it failed.
16        The Court may remember that Ms. Grant completely renunciated her
17   crime and sought to remove herself from the people and circumstances
18   which drew her into it. To this day she has not engaged in any contact
19   at all with her co-defendant, and intends to keep it that way. She
20   served six months in prison for her crime, but other than the current
21   case has no other criminal history or risk factors for recidivism.           Ms.
22   Grant’s crime was completely situational and is unlikely ever to
23   reoccur.
24        Given Ms. Grant’s completion of all terms of her supervised
25   release and her strong desire to improve the quality of life for her
26   children, the defense moves the court to terminate the term of
27   supervised release.   Supervised release has served its purpose in
28   ensuring that Ms. Grant is not a risk to the community.         No further


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 1   government funds need to be expended on Ms. Grant. As both the
 2   supervising Probation Officer and the prosecuting attorney concur with
 3   early termination, the parties do not seek a hearing on this matter,
 4   but ask the court to order termination forthwith.
 5
                                           Respectfully submitted,
 6
                                           DANIEL J. BRODERICK
 7                                         Federal Defender
 8   DATED: June 28, 2012                  /s/Caro Marks
 9                                         ________________________________
                                           CARO MARKS
10                                         Designated Counsel for service
                                           Attorney for Defendant
11                                         FELICIA GRANT
12
13
                                       O R D E R
14
          IT IS HEREBY ORDERED that FELICIA GRANT’S term of supervised
15
     release be terminated as of the date of this Order.
16
17   Dated: June 28, 2012
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